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EXHIBIT 1

LISTING OF PARTIES-IN-INTEREST REVIEWED FOR CURRENT
RELATIONSHIPS

All professionals involved in these estates
Office of the U.S. Trustee
The Members of the committees of:

° The Official Unsecured Creditors’ Committee for USA Commercial
Mortgage, consisting of:
Advanced Information Systems (Michael T. Yoder)
Del Bunch dba Loan Partners Capital (Donald R. Walker)
Robert L. Hagmaier
Annee Nounna
Suzanne Nounna
Robert A. Russell

e The Official Committee of Holders of Executory Contract Rights of USA
Commercial Mortgage Company

e The Official Committee of Equity Security Holders of USA First Trust
Deed Fund, LLC

e The Official Committee of Equity Security Holders of USA Capital
Diversified Trust Deed Fund, LLC

Creditors holding some of the largest claims listed on attached.

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LISTING OF PARTIES-IN-INTEREST REVIEWED FOR CURRENT RELATIONSHIPS

AAA OM Financial, LLC

Advanced Information Systems

Andrew and Ellen Dauscher

Annee of Paris Coiffures, Inc.

Aristotle S. Melonas

Arthur and Glorianne Polacheck

August J. Amaral, Inc.

Bank of America

Cardwell Family Trust

Charles B. Anderson Trust

Charles O. and Flora A. Nichols

Childrens Dental Group, Inc., Defined Benefit Pension Plan
Citibank

Dell Bunch

Dennis Flier, Inc. Defined Benefit Trust

Dennis Raggi

Donald S. Tomlin and Dorothy R. Tomlin Revocable Trust
Donna and Gerhard Luttel, and Gwendolyn Allred
Dr. Gary Kantor

Emona Dental! Studios, Inc.

Eric, Lynn, and Cassie Lester

Everett H. Johnson Family Trust

Fertitta Enterprises, Inc.

Financial West Group

First Trust Company of Onago C/F Jean-Jacques Leblanc Ira
Frank Reale, DC

George Gorman

Goold Patterson Ales & Day

Gwen Melonas Family trust

Haspinov, LLC

Helms Homes, LLC

Herman M., Brian M., and Anthony G. Adams
Homfeld II, LLC

InterShow

Jack and Sylvia Goldenthal

James Hull

James J. Tanaka

James W. and Pamela P. McCollum

John Parker Kurlinski & Claire Sawyer Kurlinski
John Warner, Jr.

Joseph P. Milanowski

Kantor Nephrology Consultants

Katz 2000

Katz 2000 Separate Property Trust
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Kohler Living Trust

Kummer, Kaempher Bonner & Rensahw
Kusum Desai, MD

Larry L. Rieger & Patsy R. Rieger

Mary E. and Matthew J. Moro

Michael Peterson

Michaelian Holdings, LLC

MLH Family Investment Limited
Molitch 1997 Trust

Nevada Department of Taxation

Nevada State Bank

Paris Line LLC

Paul S. Hamilton

Pecos Professional Park

R. Hagmaier

R.T. Enterprises

Ray Quinney & Nebeker, P.C.

RD Advertising

Richard G. Woudstra Revocable Trust
Robert E. Taylor

Robert G. Berry, Jr. and Jeanette K. Berry
Robert G. Worthen

Robert J. and Ruth Ann Kehl
Rocklin/Redding LLC

Russell AD Development Group, LLC
Sara Katz

Schwartzer & McPherson

Scotsman Publishing, Inc.

Signature Financial

Special Order Systems

Steven M. and Margaret W. Terry Trust
Terry Helms Living Trust

The 2003 Richard N. Krupp, Charitable Remainder Unitrust
The Gannaway Charitable Remainder Trust
The L.E. and J.G. Blair Family Trust

The Toni Antonacci Trust

Thomas A. Hantges

Thomas C. Lawyer Family Trust

Tim Rich

U.S. Bank

USA Capital

USA Capital First Trust Deed Fund, LLC
USA Capital Diversified Trust Deed Fund, LLC
USA Capital Realty Advisors LLC

USA Securities, LLC

USA Commercial Mortgage Company
USA Commercial Real Estate Group
Wells Fargo Bank

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Wen Baldwin Separate Property Trust
West Coast Life Insurance Company
William Edwards

William W. Miller
